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       In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                    Filed: March 14, 2014
                                         No. 12-814V


* * * * * * *               *   *   *   *   *   *
JAY VANDEGRIFT,                                 *       UNPUBLISHED
                                                *
                                                *       Special Master Dorsey
                                                *
                         Petitioners,           *       Attorneys’ Fees and Costs; Decision;
                                                *       Stipulation.
v.                                              *
                                                *
SECRETARY OF HEALTH                             *
AND HUMAN SERVICES,                             *
                                                *
                         Respondent.            *
*    * *    *   *   *    * * * *        *   *   *

Lawrence R. Cohan, Anapol, Schwartz, et al., Philadelphia, PA, for Petitioner.
Julia McInerny, United States Department of Justice, Washington, DC, for Respondent.


                        DECISION1 (ATTORNEY FEES AND COSTS)
        In this case under the National Vaccine Injury Compensation Program,2 Special
Master Dorsey issued a Decision on December 13, 2013. On March 13, 2014, the parties
filed a stipulation concerning attorney’s fees and costs in this matter. The parties’

       1
         The undersigned intends to post this Decision on the United States Court of
Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note
(2006)). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party (1) that is trade secret or
commercial or financial information and is privileged or confidential, or (2) that are
medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision
will be available to the public. Id.
       2
        The applicable statutory provisions defining the program are found at 42 U.S.C.
§ 300aa-10 et seq. (2006).

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stipulation requests a payment of $29,322.64, in attorneys’ fees and costs. In compliance
with General Order # 9, Petitioner filed a statement, indicating that he incurred no out-of-
pocket expenses.
        The undersigned finds that this petition was brought in good faith and that there
exists a reasonable basis for the claim. Therefore, an award for fees and costs is
appropriate, pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). The undersigned finds said
stipulation reasonable and adopts it as the decision of the Court in awarding attorneys’
fees and costs, on the terms set forth therein.
      I hereby award the lump sum of $29,322.64, for attorneys’ fees and costs, in the
form of a check payable jointly to Petitioner and Petitioner’s counsel, Lawrence R.
Cohan, Esq.
       In the absence of a timely-filed motion for review filed pursuant to Appendix B of
the Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment
in accordance herewith.


IT IS SO ORDERED.



                                                 s/Nora Beth Dorsey
                                                 Nora Beth Dorsey
                                                 Special Master




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